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     UNITED STATES D ISTR ICT CO URT FO R THE W ESTERN DISTRICT F                                  '
                           CH AR LO TTESVILLE DIVISIO N


    ELIZABETH SINES,ET AL.,                                   caseNo.3:17-cv-00072-NKM l
    Plaintiffs,                                               IHon.NormanK.Moon
     Iv.l
    JASON K ESSLER ,ET AL.,

     oefendants.l
                        M EM OM NDU M IN SU PPORT OF M OTION TO DISM ISS BY
                                 DEFENDANT M ICHAEL PEINOVICH
           DefendantM ichaelPeinovich,Pro Se,subm itsthis m emorandum in supportofhis

    motiontodismissPlaintiffs'amendedcomplaintpursuanttoFed.R.Civ.P.12(b)(6).

                       FACTUALALLEGATIONSASTO MICHAEL PEINOVICH
       Though Plaintiffs,in atransparentlawfaretactic to try to intim idate,bankrupt,and silence

    defendantPeinovich and otherdefendants,have filed a 110 page am ende'd com plaint,the

    com plaintcontains no plausible allegationsthatPeinovich did anything unlaw fulornotfully

    protected by the Firstand Second Am endm entsto the United States Constitution. Herè are the

    few,sparse,and conclusory allegations thateven m ention Peinovich:

    Page 1- Peinovich'snam e appears in the listofdefendants.

    Page 17,paragraph 42 - Peinovich's nam e appearsin a paragraph describing who he is and

    wherehe isfrom .

    Page 19,paragraph 50- Peinovich'snameappearsin alisiofpeoplethatattendedtheM ay l3,
    2017 dem onstrations in Charlottesville.Thisparagraph makes no allegations ofillegalactivity.



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    Page 20,paragraph 52 - Peinovich'snam e appears in a paragraph describing theM ay l3th event,

    also m aking no allegationsofwrongfulactipns.

    Page24,paragraph 63 - Peinovich'snam e appears in a listofpeople thatallegedly planned and

    coordinated supposedly Eçunlaw fulacts''in Charlottesville onA ug 12,2017.

    Page 33,paragraph 96 -This paragraph includesan outofcontextand heavily edited quote from

    an unnam ed gueston Peinovich's podcast.The date,episode num berand timestam p ofthe quote

    are notprovided.Even ifw e takethisquote atface value,itnonethelessrepresentsFirst

    A mendm entprotected free speech and isnota credible cause ofaction,evidence ofa conspiracy,

    oreven necessarily related to thiscom plaintortö Unite the Rightin any way.Itissim ply

    som ething som eone said on the internet.

    Page 46,paragraph 129 -This paragraph allegesthatPeinovich and anotherperson announced a

    generàllegalfund and gave advice on getting transportation to the event.H ere plaintiffsm ake an

    absurd insinuation thatthere issom ething illegalorharm fulaboutcom pletely norm alactivity.

    Page 48,paragraph 141-This paragraph allegesthatPeinovich m ade a threatening tweetto the

    businessownersin Charlottesville.Thisisa deliberately obtuse m isinterpretation.Peinovich

    intended thistw eetto warn businessow ners in Charlottesville thatthey w illlikely notbe spared

    violence and intim idation from A ntifa thugseven ifthey (lvirtue signal''by putting signs

    declaring theirsupportforcomm unism orotherleftw ing causesin theirshop w indows.

    Page 61,paragraph l87 -Thisparagraph allegesthaton A ug 12,2017 Peinovich and others

    l'executed''a supposed plan to carry outethnic/religiousbased violence,yetagain m aking an

    overly conclusory claim w ith no factualenhancem entto lend itcredibility.




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    Page 67,paragraph 207 -Thisparagraph allegesthatPeinovich togetherwith hissecurity team

    took a van ride into Charlottesville and approached Lee Park on footon the afternoon ofA ug 12,

    20l7.Yetagain,any claim ofactual'
                                    w rongdoing isentirely absent.

    Page73,paragraph 229 -This paragraph speaks ofPeinovich being in M clntire park at l:00pm

    August12,2017.Itthen talksabouta violentincidentthatallegedly happened there that

    Peinovich neitherw itnessed noreverheard aboutanyw hereelse.

    Page 73,paragraph 230 -Thisparagraph alleges Peinovich gave a speech in M clntire park and

    called the counter-protesterssavages.H ere isa video ofPeinovich's speech:https://

    w w.yotltube.com /watch?v=anevsW -ckl.A sthe video m akesclear,although Peinovich was

    rightfully criticalofthe violence threatened and intlicted by the counter-protestors,his speech

    em phasized the im portance ofthe pro-m onum entdem onstratorspeacefully exercising theirFirst

    A mendm entrightsand expressing only positivem essagesaboutwhiteA m ericansand not

    disparaging any othergroup ofpeople.

    Page 96,paragraph 310 -This paragraph allegesthatin the afterm ath ofthe dem onstration

    Peinovich had severalphone conversationsw ith defendantCantwellwhile Cantw ellwas held in

    theAlbemarlecountyjail,andthattheseconversationswerepublishedtotheinternet.Italso
    allegesthatPeinovich assisted Cantw ellin fundraising effortsforhis legalcasé.O nceagain one

    scratchestheirhead looking foran allegation ofany activity thatis notentirely legaland

    consisientwiththenormalbehaviorofonlinepoliticalpersonalities.
    Page 99,paragraph 326 -Thisparagraph allegesPeinovich arranged forlegalrepresentation and

    transportation forpeople attending the rally in orderto supposedly engage in (sunlawfulacts.''

    The overly conclusory claim ofSsunlawfulacts''isonce again tacked on atthe end in an offhand

                                                    3
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    and sloppy m anner,as ifthe plaintiffsrealized atthe Iastm inute thatthey had to atIeasttry to

    m aketheircomplaintappearserious.

    Page 99,paragraph 327 -This paragraph alleges Peinovich appeared on a prom otionalposterfor

    the event.A gain,one shrugsone's shoulders looking forany allegationsofw rongdoing and

    wonderswhy plaintiffswould wastetheCourt'svaluabletimewith such trivialities.

                               REQUESTS FOR JUDICIAL NOTICE

           PeinovichrespectfullyrequeststheCourttotakejudicialnotice,ashighlyrelevant
    background to thiscase,thatJason Kessler,one ofthe defendantson whom the plaintiffs'

    amendedcomplaintprimarilyfocuses,onAugust11,2017soughtandobtainedaninjunction
    from thisCourt(JudgeConrad)aftertheCityofCharlottesvilleimproperlyand
    unconstitutionally denied Kesslera perm itto conducta pro m onum entdem onstration. See this

    link: httn://www.nbczg.com/stow/36lls8lg/iudne-qrants-iniunction-iason-kessler-can-

    have-unite-the-right-rall
                            y-at-em ancipation-park. Thus,although the am ended com plaint

    attem pts to portray the defendantsas law less,violence-prone fanatics,in reality the pro-

    m onumentdem onstrators fully and painstakingly com plied with the legalrequirementsfor

    conducting thedem onstration; itw asthe City ofCharlottesville thatacted in violation ofthe

    Iaw. M oreover,the Antifa w ho form ed such a Iarge proportion ofthe counter-demonstrators

    have openly proclaim ed and repeatedly shown theirw illingnessto engage in violence to censor

    and destroy the free speech ofthosegroupsthe Antifa regardsastheirpoliticalenem ies.See,for

    example,thislink,describingAntifathrowingsmokeandprojectilesatpoliceinarecent
    demonstration: http://fxn.w s/2vOaJ5p. Seealsothislink,which disclosesthattheNew

    Jersey Office ofHom eland Security and Preparedness hasdeclared the Antifa an ''anarchist

                                                    4
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    extremist''group repeatedly linkedto violence: httns.
                                                        e//www.nihomelandsecuritv.cov/

    analysis/anarchist-extrem ists-antifa.Andthislink,inwhichAntifaopenly declaresitsintent

    to preventthe N ationalPolicy Institute 9om exercising itsconstitutionalrightto peacefully

    assembleatthe RonaldReagan Building in Washington,D.C.: http'
                                                                .//idavox,com /

    index.php/zol6/ll/zl/antifa-com es-for-national-policy-institute-in-

    washington-dc/.

       PeinovichalsorespectfullyrequestsjudicialnoticeofareportpreparedbyTimothyJ.
    Heaphy,form erU nited StatesAttorney,and his Iaw firm ofHunton and W illiam s,w ho were

    hired by the City ofCharlottesville to prepare an officialindependentinvestigation ofthe

    dem onstration. See thislink: hdp://w w.charlottesville.org/hom e/showdocum ent?id=sg6ls

    A ccording to thisreport,the Charlottesvillepolice failed to respond when violence broke outat

    the demonstration'
                     , instead ofintervening,the police pulled back to a safe zone behind

    barricadeswhile protestersand counterprotesters foughtin the streets.Further,the Charlottesville

    police com m andersdid notgive adequate training to officers. The reportspecifically accuses

    Charlottesville PoliceChiefA lfred Thom as oftrying to Iim itthe scope ofthe investigation,

    deleting textmessagesthatwere relevantand falsifying a docum entto make itlook Iike the

    departm enthad adequately prepared fora massdisturbance.

                                            ARGUMENT
           One thing aboutthe plaintiffs'com plaintshould be m ade crystalclearatthe outset       this

    com plaint,and indeed thisentire case,isnothing m orethan a threadbare pretextfortrampling on

    the FirstAm endmentrights ofthe defendants and by extension the rightsofallAm ericans.The

    plaintiffsthem selves do nottake theirclaim sseriously,they do nottake the FirstA mendm ent
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    rightsofAm ericansseriously,and they do nottake the Courtseriously.The plaintiffsseethe

    Coul'
        tas merely a vehicle forpushing theiragenda ofpoliticalcensorship and personal

    destruction.Conceptsoffree speech,good faith,a marketplace ofideasand open publicdebate

    are foreign to them ,and they wish to stam p outany politicalthoughtand speech thatisoutside

    the m ainstream .The plaintiFswish to intim idate,bankruptand drive thedefendantsfrom the

    publicsquareso theycanno longerfreely expresstheirviews.'fhatisthepurposeofthiscynical

    and mendaciouscom plaint,notto redress certain unspecified dam agesorfabricated violationsof

    the plaintiffs'rights.                                                                               '

           In plaintiffs'amended complaintthey have notcorrected the failure oftheirprevious

    com plaintto setforth any causesofaction orcredible allegations againstdefendantPeinovich

    thatgo beyond m ere recitalsoftheelem entsofa cause ofaction.Plaintiffs'previousclaim that

    defendantPeinovich took partin planning ordirecting tsillegalacts''hasallthe meritofa m ere

    claim thattçso and so harm ed m e''withoutfurther,and required,factualenhancem ent. Under

    BellAtlanticv.Twombly,550U.S.544(2007)andAshcrojtv.Iqbal,556U.S.662(2009),a
    plausible cause ofaction mustdo m ore than rely on conclusory referencesto Isconspiracies''and

    ûsillegalacts.''The plaintiffsseem to think their lack ofplausible claim scan be covered overw ith

    tlowery language,nam e calling,and bloodcurdling,alarm istrhetoric.Both the originaland the

    amended com plaintconsistessentially ofdisparaging and opinionated descriptionsofpolitical

    viewsand protestactions,thatw hile perhapsoffensive to the sensibilitiesofthe plaintiffsare

    nonethelessentirely legaland wellw ithin the Am erican tradition offree speech and political

    protest. lfplaintifrsw antto w rite an opinion piece aboutthe politicalview softhose who

    attended theUnitetheRightrally,orevenexpresstheiropinion öfdefendantPeinovich himseltl

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    they are free to do so,butitisnotclearwhy such opinionsshould concern the Coul't.ln their

    attem ptto give a false sem blance offactualdetailto theirconclusory and im plausible

    allegations,plaintiffshave m erely Iisted factualallegationsaboutdefendants'actionsthatare

    entirely consistentw ith planning a Iegally perm itted politicalrally and dimple participation in an

    online forum .

             In an effortto fram e the actionsofthe defendantsasan unlaw fulconspiracy,plaintifrs

    relyontranscriptsofaDiscordserver(page27,paragraph76),variousinternet(tmeme''images
    sharedbydefendantsandothers(pages37and38,amongothers),aswellaspropagandaimages,
    logos,stickers,tlyersand otherfree speech materialsassociated w ith som edefendantsand

    relatedorganizations(page33,paragraph95).DefendantPeinovichwasnotanactiveparticipant
    in this Discord server,and only logged in fo itonce,and there are no credible claim s in the

    am ended com plaintalleging otherw ise.However,even had defendantPeinovich been an active

    participantin the server,thiscould notreasonably be fram ed asparticipation in an unlawful

    conspiracy.The plaintiffs'attem ptto fram e participation in a D iscord planning server,the

    organization oftransportation to the rally,requestsfordonationsfortransportation,and the

    setting up ofa generallegalfund as'pal'tofan unlaw fulconspiracy,when such actsare notonly

    legalin them selves,butare also consistentwith eventplanning,doesnotpassthe testofw hatis

    required fora oredible cause ofaction.The Unite the Rightrally was legally perm itted,so

    presum ably planning,organization and transportto itare legaland participation in such activity

    cannotin itselfbe used asevidence ofany unlawfulconspiracy.W hile itiscertainly possible to

    fram e any action thatinvolvestwo orm ore people workingtogetherasan evilconspiracy,one
         !




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    would have to beextraordinarily dishonestand disrespectfulofthe intelligence ofotherpeople to

    attem ptto do so.

           Theplaintiffs'attempttoframeidlechitchat,edgyjokes,memesandconversatibnsabout
    the possibility ofviolence from A ntifa thugsasa coordinated plan to attack the residentsof

    Charlottesville deGescredibility and com m on sense.Edgy hum orand memesare partofinternet

    subculture,and while som e m ay notunderstand them ,and som e m ay find them offensive,the

    sharingofsuchjokesandmemescannotcrediblybeseenasevidenceofaconspiracytocommit
    violence.To interpretthe sharing ofpotentially offensive m emes on the internetasevidence of

    violentintentw ould have a chilling effecton free speech,and potentially tie up m illionsof

    Am ericans in frivolous legalactions like the one broughtby plaintiffshere.Plaintiffs pretend not

    to recognize coarse hum or,sarcasm ,and satire and ask the Couftto suspend itsown ability to

    recognize such things.

           Plaintiffssim ilarly ask usto suspend ourability to understand contextand nuance when

    talking aboutthe slogansand rhetoric associated w ith Unite the Right,and politicalprotest

    generally.They take sloganssuch asçsFightuntilthe lastdrop''asIiteralcallsto violence,w hen

    such statem entshave long been used ascallsto nonviolentpoliticalaction.The language

    surrounding politicalactivism isfullofm etaphors forviolence and m ilitary action.A

    Clcam paign''isitselfa m ilitary term ,yetw e do notliterally think thatin hercam paign for

    President,H illary Clinton was engaged in a m ilitary assaulton alI50 statesofthe Union.

    Plaintiffsrely here on the hope thatothersw illabandon com m on sense and accepttheiroverly

    literaland totally dishonestfram ing ofobviouspoliticalslogansthatcannotreasonably be

    interpreted as directcallsforim m ediate violence.To lend any credibility to the plaintiffs'

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        preposterousinterpretation ofpoliticalslogansascallsto im m ediate violence would have a

        chilling effecton free speech.This should notsurprise usconsidering thatthe suppression offree

        speechisoneofthemajorgoalsoftheplaintiffsinbringingthisactioninthefirstplace.
               The plaintiffsonceagain underscore theirm endacity and lack ofseriousnessby including

        whatareobviouslyjokememestakenfrom theinternetasiftheyareserjousthreatsofviolence.
        Thisisinsulting to everyone's intelligence.Forexam ple,an im age ofdefendantTim ltBaked

        Alaska''Gionet(seepage38,top)thathasclearly been alteredtomakeitappearasifGionet
        were holding a gun and pointing itatthe view er,was included in theam ended com plaintasifit
                                         Nxx.

        wereevidence ofviolentintentions.The im age isclearly photoshopped,and is also clearly m eant

        asajoke.W hileplaintiffshavenosenseofhumorthemselves,itdefiescredibilitythattheyare
        totallyunabletoevenrecognizeajoke.Toincludesuchanimageinaformallegalcomplaint
        dem onstratesthisam endçd com plaint's lack ofm eritas wellasplaintiffs'lack ofrespectforthe

        Court.

               D efendants'and others'discussionson D iscord and otherinternetforum softheirfears of

        violence from Antifa thugs,and discussionsofhow to engage in legalselfdefense from such

        violence,werenotonly legal,butentirely warranted considering recenthistory.AsTim Heaphy

        stated in his independentreport,there were in factleftw ing agitatorsengaging in violencethat
                                                                             .




        day,and the police failed to keep them separate from the legally perm itted Unite the Rightrally.

        DefendantsPeinovich and Spencer,along with otherdefendantshave been speakersand

        attendeesatmany otherpoliticaleventsand ralliesaround the country,and none ofthose events

        have been m arred by violence.A ntifa isa group thatopenly statestheirintention to use violence

        to attack free speech,and has in the paststarted riots,broken w indows,and litfires in the street

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     in orderto shutdown speaking events.Forexam ple,conservative punditsM ilo Yiannopolous

     andAnnCoulterhaverecently hadeventsinBerkeley Californiashutdown by thesethugs.(see
     htp://abc7chicago.com /new s/protesters-shut-down-m ilo-yiannopoulos-appearance-at-berkeley/

     l732726/and hlps://ww w.w ashinctonpost.com /new s/crade-point/w n/zol7/o4/z6/ann-cotllter-

     speech-canceled-at-uc-berkeley-am id-fears-for-safety/?utm term=.74dee76z63ld)Giventhis
                                                               -




     history,any conversationsaboutencountering and reacting to such violence are notonly entirely

     warranted and Iegalbutcannotreasonably be seen as evidence ofa conspiracy to initiate

     violence.

            Claim sthatPeinovich cam eto Charlottesville w ith the intention ofharassing people

     based on religion,ethnicity orrace are putto the lie by the only public statem entm adethatday

     in Charlottesville by Peinovioh in which he clearly statesthathispurpose was notto attack any

    othergroup,butto express love forwhite people and European descended peoples.A video of

    this speech can be seen here.httpsT//-   .youtube.com /w atch?v=l4M m vRxfw W l.Otherthan

    vague claim s ofem otionaldistressthatdo notm eetany Iegalstandard fora causeofaction,see

    Snyderv.Phelps,562U.S.443(2011),thesedamagesremainunspecified.
            Plaintiffs claim thatPeinovich and othersviolated theirrightunderthe Thirteenth

    amendmentand42U.S.C.j1982 tobefreeofthe(lbadgesandincidents''ofslavery(page102,
    paragraph342).Theterm çibadgesandincidentsofslavery''hasbeenthesubjectofahighly
     politicized legaldebate over interpretation.Some have soughtto use ah overly broad definition

    ofthisphrase to lim itfree speech rightsby proposing so called çEhate speech''legislatiön, arguing

    thatany speech thatm ay be oflknsiveto African Am ericanscan be interpreted asa rem inderof

    slavery.This argumentisnotin keeping w ith any rulingsofthe Supreme Courtconcerning so-

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     called (loffensive''speech.ltseem s likely thatthe plaintiffsare here engaged in an underhanded

     attem ptto Iegislate through the Courts by arguing thatrightwing speech,orçthate speech''às

    they callit,isa violation ofthe Thirteenth Am endmentrightsofAfrican A m ericansand using the

     speech ofthose attending Unite the Rightasan eyam ple.They hope to seta Courtprecedentthat

     willlimitnotjusttherightsofthedefendants,butofa1lAmericans.Thefactthatplaintiffswoulo
     introduce such an argumentinto this com plaintspeaksto the overallnature ofthiscase asan

     agenda driven politicaltoolratherthan an honestattem ptto seek reliefforw rongsdone to them .

            The phraseçsbadges and incidentsofslavery''m ustbe looked atin itshistoricalcontext,

     otherwise bullies and tyrantsw illtw istitto theiradvantage in orderto attack free speech.

     Historicallyttbadges''meantjustthat,badgesthatidentitiedslaves.Peinovichcertainlyagrees.
    thatallpeople have a rightto be free ofsuch badges,and to claim thathe literally attem pted to

     attach such badgesto residentsofCharlottesville on A ug 12 is stretching thingsto an absolutely

     com icallevel.There are no allegationsorreportsofPeinovich orany otherdefendants

    attempting to putbadgeson people againsttheirw ill.In term sof(dincidents''thisrefersto any

     law sthatwere apartofthe slave system itself,law sthatcam e outofand enhanced the system of

     slavery,and were oppressive to slaveseven aûerthey were freed.A good exam ple would be a

     law prohibiting property ow nership forform erslaves.Peinovich respects allpersons'property

     rights,and to claim thathe attem pted to enactsuch Iegislation orengaged in actsthath
                                                                                         threatened

    the property rightsofanyone on A ug 12th in Charlottesville is sim ply farcical.Ifplaintiffshave

     in m ind a differentinterpretation ofthe phrasettbadgesand incidents''itisnow here to be found

     in theircom plaint.Like m any ofplaintiffs'otherclaims and argum ents,thisoneseem sto be

     thrown in atthe lastm inute in a ratherhasty and thoughtlessm anner.The claim thatanyone's

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          Thirteenth Am endm entrightswere violated showsnotonly the absurdity ofthe plaintiffs'

          claim s,butthefactthatthisis a cynicalcase being used asa vehicle fora politicalagenda.

                 As ifto rem ove any doubtabouttheirduplicitousm otives in bringing this spurious

          complaint,plaintiffshaveissuedarequestfordocumentstothedefendants(seePlaintiffs'First
          SetofDocumentRequestsandPlaintiffs'FirstSetoflnterrogatories)thatincludesalldigital
          com m unicationsbetween defendantsand theironline friendsand followers on aIlsocialm edia

          accountsand platform sstretching back to 2015.This absurdly broad requestis faroutside any

          reasonable scope ofdiscovery,and underscoresthe factthatthiscom plaintisnothing m ore than

          a politicalw itchhuntin w hich plaintiffsseek to notonly harassand intim idate the defendants,but

          to gain information aboutthe friends,fam ily and associatesofthedefendantsw ith an intentto

          targetthem forfuture intim idation and harassm ent.

                                                  ARG UM EN T

            Seven cases,five ofthem from the United StatesSuprem e Courtcases,dem onstratew hy this

          harassing,mendacious,and un-Am erican am ended complaintshould be dism issed: BellAtlantic

          v.Twombl
                 y,550U.S.544(2007);Ashcro? ulqbal,556U.S.662(2009);Snyderv.Phelps,562
          U.S.443(2011);Terminiellov.Cityofchicago,337U.S.934(1949),
                                                                   .Brandenburgv.Ohio,395
          U.S.444(1969);BibleBelievers,etal.v.I'
                                               Fà-
                                                 vneCounty Michigan,805F.3d228(6thCir.2015)
          (enbanc);andZurichAmericanInsuranceCo.v.Turbyfll,2010WL 4065527(W.D.Va.2010)
                 The Courtin Iqbalsum m arized the new pleading standard ithad earlieradopted in

      '   Twombly.
                 .


                 A s the Courtheld in Twombly,550 U .S.544,the pleading standard Rule 8 announces
                 does not require GGdetailed factualallegations,''but it demands m ore than an unadorned,

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            the-defendant-unlawfully-harm ed-me accusation.1d.,at 555 ....A pleading thatoffers
            ttlabels and conclusions''or çta formulaic recitation of the elem ents of a cause ofaction
            w ill not do.'' 550 U . S., at 555.N or does a com plaint suftice if it tenders ççnaked
            assertiongsl''devoid ofSsfurtherfactualenhancement.''f#.,at557.To survive amotionto
            dism iss,a com plaintm ust contain sufficientfactualm atter,accepted as true,to Gsstate a
            claim to reliefthat is plausible on its face.''1d.,at 570.A claim has facial,plausibility
            w hen the plaintiff pleads factual content that allows the court to draw 'the reasonable
            inference that the defendaht is liable for the m isconduct alleged. 1d., at 556. The
            plausibility standard .. .it asks for m ore than a sheer possibility that a defendant has
            acted unlawfully.Ibid.W here a complaintpleadsfactsthatare çtm erely consistelttw ith''a
            defendant's liability, it Cçstops shortof the line between possibility and plausibility of
            Sentitlementtorelief.'''f#.,at557 (bracketsomitted).
            Iqbal,556 U .S.at


            A nd further:

             Tw o w orking principles underlie our decision in Twombly.First,the tenetthat a court
            m ustacceptastrue allofthe allegationscontained in a com plaintis inapplicable to legal
            conclusions.Threadbare recitals ofthe elem ents of a cause of action,supported by m ere
            conclusory statem ents,do notsuffice....Rule 8 m arksa notable and generous departure
            from the hyper-technical,code-pleading regim e ofa priorera,butitdoes notunlock the
            doors of discovery for a plaintiff armed with nothing more than conclusions.Second,
            only a com plaintthatstates a plausible claim forreliefsurvives a m otion to dism iss.1d.,
            at556.D eterm ining w hether a com plaintstates a plausible claim for relief will...be a
            context-specifictaskthatrequiresthereviewingcourttodraw on itsjudicialexperience
            and common sense.Butwhere the well-pleaded facts do notpermitthe coul'tto infer
            morethan the mere possibility ofmisconduct,the complainthasalleged butithasnot
            çsshowlnj'' dsthatthepleaderisentitledtorelief''
    lqbal,556 U.S.at

            The Twombly and Iqbalcases and the standardsthey adopthave a directapplication to the

     plaintiffs'am ehded com plaintin thiscase.

            First,asto allthe defendants,butparticularly asto Peinovich,the am ended com plaint

     containsnothing butconclusory statem ents,naked assertions,Iabels,and tçthe-defendant-

     unlawfully-harm ed-m e accusations.''


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           Second,the Twombl
                           y and Iqbaldecisionsem phasize thatcontextand com m on sense are

    criticalin evaluating the am ended com plaint'sallegations. The obviouscontextin thiscase is

    the defendants'participation in classic FirstAm endm entactivity'
                                                                    . m arching,speeches in parks,

    carrying signs,expressing politicalprotests. Plaintiffscom plain thatthe defendants'activities

    were highly offensive,butthe Suprem e Courthasoften noted thatitisprecisely offensive speech

    thatrequiresFirstAm endm entprotection.A sthe Suprem e Courtstated in Snyderv.Phelps:


           The First Am endm ent retlects Gça profound national comm itm ent to the principle that
           debate on public issues should be uninhibited,robust,and w ide-open.''N ew For/cTimes
           Co.v.Sullivan,376 U.S.254,270 (1964).Thatisbecause (tspeech concerning public
           affairs is more than self-expression; it is the essence of self-governm ent.''Gqrrison u
           fouisiana,379U.S.64,74-75 (1964).Accordingly,(dspeech onpublicissuesoccupies
           the highestrung ofthe hierarchy of FirstA m endm entvalues,and is entitled to special
           protection.''Connick v.Myers,461 U.S.138,145 (1983)(internalquotation marks
           omitted).
                                                     * **


            Given thatW estboro's speech w as ata public place pn a m atterof public concern,that
           speech is entitled to (çspecialprotection''underthe FirstA m endm ent.Such speech cannot
           be restricted sim ply because it is upsetting or arouses contem pt.tGlf there is a bedrock
           principle underlying the FirstAm endment,itisthatthe governm entmay notprohibitthe
           expression of an idea sim ply because society finds the idea itself offensive or
           disagreeable..
                        ''Texasv.Johnson,491U.S.397,414 (1989).lndeed,ûsthe pointofall
           speechprotection...isto shieldjustthosechoicesofcontentthatinsomeone'seyesare
           m isguided,oreven hurtful.''Hurley v.Irish-American Gay,Lesbian and BisexualGroup
           ofBoston,Inc.,515U.S.557,574(1995).
           ThejuryherewasinstructedthatitcouldholdWestboroIiableforintentionalintlictionof
           em otional distress based on a finding that W estboro's picketing was dtoutrageous.''
           dso utrageousness,'' how ever, is a highly m alleable standard w ith çGan inherent
           subjectivenessaboutitwhich wouldallow ajury to imposeliability on thebasisofthe
           jurors'tastesorviews,orperhapsonthebasisoftheirdislikeofaparticularexpression.''
           Hustler,485U.S.,at55(internalquotationmarksomitted).Inacasesuchasthis,ajury
           is llunlikely to be neutralwith respecttb the contentof gtheq speech,''posing ûGa real
           danger of becom ing an instrum ent for the suppression of . . .Svehem ent,caustic,and
           sometimesunpleasangtl'''expression.Bose Corp.,466 U.S.,at5l0(quotingNew For/c
                                                   14
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           Times,376 U.S.,at270).Such a risk is unacceptable;çtin public debate (we)must
           tolerate insulting,and even outrageous,speech in orderto provide adequate Sbreathinj
                                       .

           space'to the freedom sprotected by the FirstA mendm ent.''Boos v.Barry,485 U .S.312,
           322 (1988)(some internalquotation marksomitted).W hatWestboro said,in thewhole
           contextofhow and w here itchose to say it,is entitled to Stspecialprotection''under the
           FirstAmendment,and thatprotection cannotbe overcome by ajury Gnding thatthe
           jicketing wasoutrageous.

           Plaintiffs'affrontto FirstA mendm entprinciples isa1lthe m ore egregiousgiven thatthey

    seeknotonlydamages-nodoubthugedamages-butççgilnjunctivereliefenjoiningDefendants
    from futureviolationsofrightsguaranteedbystateandfederallaw,''i.e.,aninjunctionthatwill
    intim idate defendants from everagain stepping outside the narrow confinesofpolitical

    odhodoxy.


           Third,astheCourtstatedinIqbal,ççgwqhereacomplaintpleadsfactsthataretmerely
    consistentw ith'adefendant's liability,itdstops shortofthe line betw een possibility and

    plausibility ofçentitlem entto relief.''' Even assum ing,contrary to fact,thatthe defendants'

    conductasalleged in the am ended com plaintcould som ehow be view ed asactionable,that

    conductisalsomanifestlysubjecttobeingviewedasactivityprotectedbytheFirstandSecond
    Am endm ents. Accordingly,the alleged conductçEstops shortofthe line between possibility and

    plausibility''thatitm ustreach underTwombly and Iqbal. The factsand holding in Twombly are

    instructive: there,where the alleged Sherm an Actconspiracy could be view ed asactionable but

    also asnonactionable,the m otion to dism isswas granted.


           Fourth,theCourtin Twomblyrejectedtheçjustletthecasegotodiscoveryandsummary
    judgment''rationalethattheplaintiffswillundoubtedlyinvokeinthiscase.TheCourtstated:



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           Itisno answerto say thata claim justshy ofa plausible entitlementto reliefcan,if
           groundless, be weeded out early in the discovery process through careful case
           management...given thecommon lamentthatthe successofjudicialsupervision in
           checking discovery abuse has been on the m odestside.See,e.g.,Easterbrook,D iscovely
           asAbuse,69 B.U.L.Rev.635,638 (1989)(Judges'can do litlle aboutimpositional
           discovery when parties controlthe legalclaim sto be presented and conductthe discovery
           themselves).And itisself-evidentthatthe problem ofdiscovery abuse cannotbe solved
           by careful scrutiny of evidence at the summary judgment stage, much Iess lucid
           instructionstojuries;thethreatofdiscoveryexpensewillpushcost-consciousdefendants
           to settleeven anemic casesbefore reaching those proceedings.Probably,then,itisonly
           by taking care to require allegations that reach the levelsuggesting conspiracy that we
           can hope to avoid the potentially enorm ous expense of discovery in cases with no
           reasonably founded hope thatthe (discoveryqprocess willrevealrelevantevidence to
           supporta I)lclaim .

           The Suprem e Court'sdecisions in Terminiello and Brandenburg exem plify ournation's

    profound com m itm entto robustfree expression. ln Terminiello,Term iniello spoke to an

    auditorium tilled to capacity; outside,an angry and turbulentcrowd ofoverathousand gathered

    to protestthe speech. Term iniello ûscondem ned the conductofthe crow d outside and vigorously,

     ifnotviciously,criticized variouspoliticaland racialgroups.'' 337 U .S.at2.Term iniello was

     convicted ofbreach ofthe peace. ln an opinion written by Justice D ouglas,the Suprem e Court

    reversed the conviction,Justice Douglas stating'
                                                   .
                       /


             The rightto speak freely and to promote diversity ofideas and program s istherefore one
           '
             ofthe chiefdistinctions thatsetsusapartfrom totalitarian regim es.
                   A ccordingly a function of free speech underoursystem ofgovernm ent is to invite
             dispute.Itm ay indeed bestserve its high purpose when it induces a condition ofunrest,
             createsdissatisfaction w ith conditionsasthey are,oreven stirs people to anger.Speech is
           often provocative and challenging.Itmay strike atprejudicesand preconceptionsand
           have profound unsettling effects as it presses for acceptance of an idea.That is why
           freedom ofspeech,thougknotabsolute,Chaplinsky v.New Hampshire,supra,315U.S.at
           pages 571-572,... is nevertheless protected against censorship or punishm ent,unless
           shown likely to produce a clearand presentdangerofa serious substantive evilthatrises
           far above public inconvenience,annoyance,or unrest....There is no room under our
           Constitution fora m ore restrictive view.Forthe alternative w ould lead to standardization
           ofideaseitherby legislatures,courts,ordom inantpoliticalorcom m unity groups.


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                                                   '




            In Brandenburg,the Suprem e Courtreaffirm ed ournationalcom m itm entto vigorousfree

     expression,even - indeed especially - ofoffensive and unpopularviews. ln thatcase,aftera Ku

     K lux K lan leaderm ade highly offensive statem entsata rally,he wasconvicted underthe Ohio

     Crim inalSyndicalism Actofadvocating violence and terrorism . Reversing theconviction,the

     SupremeCourtstated(395U.S.at447):
            (TheSupremeCourt's)laterdecisionshavefashionedtheprinciplethattheconstitutional
            guarantees of free speech and free press do not perlnit a State to forbid or proscribe
            advocacy ofthe use of force or oflaw violation exceptw here such advocacy is directed
            to inciting or producing imm inent Iaw less action and is likely to incite orproduce such
            action.

            W hile Term iniello and Brandenbulg involved crim inalcharges,they nonetheless

     illustratehow free expression occupiesthe highestrung in ournationalhierarchy ofvalues. To

     allow plaintiffs in cases such asthe presentone to subvertthose valuesby claim s ofem otional

     distressfrom the contentofclassic FirstAm endlnentm arching and protesting is essentially to

     givesuch personsa heckler'sveto.Asthe Sixth Circuitrecently underscored in itsBible

     Believers decision,ttthe FirstAm endlnentdoesnotpennita heckler'sveto'':


            The First Am endm ent offers sw eeping protection that allow s allm anner of speech to
            enterthe m arketplaceofideas.Thisprotection appliesto loathsom e and unpopularspeech
            w ith the sam e force as it does to speech that is celebrated and widely accepted.The
            protectionwouldbeunnecessaryifitonlyservedtosafeguardthemajorityviews.Infact,
            it is the m inority view, including expressive behavior that is deem ed distasteful and
            highlyoFensivetothevastmajorityofpeople,thatmostoftenneedsprotectionunderthe
            FirstAmendment....Accordingly,dsgtjherightto freespeech ...includestherightto
            attempt to persuade others to change their views, and m ay not be curtailed sim ply
            because the speaker's m essage m ay be offensive to his audience.''H illu Colorado,530
            U.S.703,716 (2000).Any otherrulettwouldeffectively empoweramajority to silence
            dissidentssimply asamatterofpersonalpredilections,''Cohen v.Calfornia,403 U.S.
            l5,21(1971),andthegovernmentmightbeinclinedtoçsregulate''offensivespeechast&a
            convenientguise for banning the expression of unpopularview s.''fJ.at26.W e tolerate
            the speech w ith which we disagree. W hen confronted by offensive, thoughtless, or

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            baseless speech thatwe believe to be untrue,the t&answeris (alwayslmore speech.''
            Williams-Yuleeu Fla.Bar,l35S.Ct.1636,1684(2015)(Kennedy,J.,dissenting).
                                                         ** ** *


              The Supreme Court, in Cantwell, Term iniello, Edwards, Cox, and Gregory, has
            repeatedly affirm ed the principle that (Kconstitutional rights m ay not be denied sim ply
            becauseofhostility totheirassertion orexercise.''Watson v.Cit
                                                                        y ofMemphis,373U.S.
            526,535(1963)(citationsomitted).lfthespeaker'smessagedoesnotfallintooneofthe
            recognized categories of unprotected speech,the m essage does not lose its protection
            under the FirstA m endm ent due to the law less reaction of those who hear it. Sim ply
            stated,theFirstAmendmentdoesnotpermitaheckler'sveto.


            Plaintiffs'prim ary tactic foravoiding Am erican FirstAm endm entdoctrine isto allege

     (tconspiracies.'' Theirobviousaim istry to m ake atleastone claim ofw rongdoing stick against

     atleastone person,and then destroy every otherpro-m onum entperson who attended the

     demonstrationbylinkingthem tothewrongdoerviaconsjiracyallegations.ButasthisCourt
     made clearin Zurich Insurance,there can beno conspiracy to do an actthatthe law allows.1ti

    at*6. M oreover,m ere parallelconductdoesnotsupportan inference ofunlaw fulconspiracy.

    1d. Accordingly,asthe pro-m onum entdem onstratorshad aFirstAm endm entrightto

    demonstrate-indeed,thisCourthadenjoinedtheCityofCharlottesvilletoallow the
    dem onstration - the m ere factthatsom e ofthe defendantsprepared to attend and did attend the

    dem onstration togetherorin proxim ity to each otherdoesnotsupportan inference ofan

     unlawfulconspiracy.

            Theplaintiffsinthi:casehaveenormousresourcesontheirside.Severalmajorlaw
    firm s,no doubtw orking pro bono,w ith probably dozensofattorneysand deep pocketsfor

    depositions and otherdiscovery expenses,are lined up to representthem .Peinovich,by contrast,

     hasnotbeen ableto find a single law yer licensed in Virginia to take hiscase,despite the

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    supposed butapparently illusory ethicalobligation lawyershave to representunpopularclients

    and to assure atleasta sem blance ofa fairtrial. M assive,expensive,draw n out,and invasive

    discovery w illin itselfbe a huge in terrorem victory forthe plaintiffs,and probably the ônly

    realistic victory they hope to achieve,given the indigence ofm ostofthe defendants.


                                            CbNCLUSION
          Theamendeàcomplaintinthiscaseisaspurious,albeitwellfinanced,actoflawfarethat
                                                                                                    $
    should sham e any attorney w ho hasa genuine respectforprinciplesoffree speech and assem bly.

    Itsaim istointimidateandbankruptthedefendants,anditsautho)scarelittleiftheydamagethe
    FirstAm endmentin the process. The com plaintshould be dism issed im m ediately asto

    Peinovich and allotherdefendants.

           Peinovich adopts and incorporatesthe m otionsto dism iss and supporting m em oranda

    filed by defendantsLeague ofthe South and M ichaelHilland by M atthew Parrott.




                                                                Respectfully subm itted,




                                                                M ichaelPeinovich,Pro Se


                                                                                                        N




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                                       CERTIFICATE OF SERW CE



       On this 26th day ofJanuary,2017,IM ichaelPeinovich certify thatlm ailed copiesofthis

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